Case 1:05-cv-01325-LJM-DKL Document 358 Filed 08/05/15 Page 1 of 14 PageID #: 10093
      Case: 14-2542   Document: 00712581324       Filed: 08/05/2015  Pages: 2   (13 of 14)



         UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



   Everett McKinley Dirksen United States Courthouse                                  Office of the Clerk
           Room 2722 - 219 S. Dearborn Street                                        Phone: (312) 435-5850
                Chicago, Illinois 60604                                              www.ca7.uscourts.gov




                                            NOTICE OF ISSUANCE OF MANDATE
    August 5, 2015


                  Laura A. Briggs
   To:
                  UNITED STATES DISTRICT COURT
                  Southern District of Indiana
                  United States Courthouse
                  Indianapolis , IN 46204-0000



                                            DARRYL PIERCE and SHARON PIERCE, On Behalf Of Themselves
                                            And All Others Similarly Situated,
                                            Plaintiffs - Appellants

    No. 14-2542
                                            v.

                                            VISTEON CORPORATION, et al.,
                                            Defendants - Appellees

     Originating Case Information:

    District Court No: 1:05-cv-01325-LJM-DKL
    Southern District of Indiana, Indianapolis Division
    District Judge Larry J. McKinney
   Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
   certified copy of the opinion/order of the court and judgment, if any, and any direction as to
   costs shall constitute the mandate.


     AMOUNT OF BILL OF COSTS (do not
                                                                115.20
    include the $):



     DATE OF MANDATE OR AGENCY                                  08/05/2015
Case 1:05-cv-01325-LJM-DKL Document 358 Filed 08/05/15 Page 2 of 14 PageID #: 10094
      Case: 14-2542   Document: 00712581324       Filed: 08/05/2015  Pages: 2   (14 of 14)



    CLOSING LETTER ISSUANCE:



    RECORD ON APPEAL STATUS:                             No record to be returned




   NOTE TO COUNSEL:
   If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
   to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
   will be disposed of.

   Please acknowledge receipt of these documents on the enclosed copy of this notice.

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    Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
    Seventh Circuit.

    Date:                                                Received by:


         8/5/2015
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    form name: c7_Mandate(form ID: 135)
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        UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



   Everett McKinley Dirksen United States Courthouse                                  Office of the Clerk
           Room 2722 - 219 S. Dearborn Street                                        Phone: (312) 435-5850
                Chicago, Illinois 60604                                              www.ca7.uscourts.gov




                                                       FINAL JUDGMENT
    July 1, 2015


       Before:                             DIANE P. WOOD, Chief Judge
                                           JOEL M. FLAUM, Circuit Judge
                                           FRANK H. EASTERBROOK, Circuit Judge




                                            DARRYL PIERCE and SHARON PIERCE, On Behalf Of Themselves
                                            And All Others Similarly Situated,
                                            Plaintiffs - Appellants

    No. 14-2542
                                            v.

                                            VISTEON CORPORATION, et al.,
                                            Defendants - Appellees

     Originating Case Information:

    District Court No: 1:05-cv-01325-LJM-DKL
    Southern District of Indiana, Indianapolis Division
    District Judge Larry J. McKinney



   The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision
   of this court entered on this date.

    form name: c7_FinalJudgment(form ID: 132)
Case 1:05-cv-01325-LJM-DKL Document 358 Filed 08/05/15 Page 4 of 14 PageID #: 10096
     Case:Case:  14-2542
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                                             In the

                   United States Court of Appeals
                                For the Seventh Circuit
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       Case: 14-2542   Document: 00712581323      Filed: 08/05/2015  Pages: 1    (12 of 14)
         UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



   Everett McKinley Dirksen United States Courthouse                                  Office of the Clerk
           Room 2722 - 219 S. Dearborn Street                                        Phone: (312) 435-5850
                 Chicago, Illinois 60604                                             www.ca7.uscourts.gov




                                                       BILL OF COSTS
    August 5, 2015

   Taxed in Favor of: Appellee Visteon Corporation ; Appellee Visteon Systems, LLC


                                            DARRYL PIERCE and SHARON PIERCE, On Behalf Of Themselves
                                            And All Others Similarly Situated,
                                            Plaintiffs - Appellants

    No. 14-2542
                                            v.

                                            VISTEON CORPORATION, et al.,
                                            Defendants - Appellees

     Originating Case Information:

    District Court No: 1:05-cv-01325-LJM-DKL
    Southern District of Indiana, Indianapolis Division
    District Judge Larry J. McKinney
   The mandate or agency closing letter issued in this cause on August 5, 2015.

   BILL OF COSTS issued in the amount of: $115.20.


                                                                              Cost of            Total Cost
                                                                              Each Item          Each Item

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